889 F.2d 1084Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Randy ALLEN, Petitioner-Appellant,v.David W. CHESTER, Superintendent, Respondent-Appellee.
    No. 89-6610.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 14, 1989.Decided Oct. 6, 1989.
    
      Randy Allen, appellant pro se.
      Richard Norwood League, Office of the Attorney General of North Carolina, for appellee.
      Before MURNAGHAN and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Randy Allen appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Allen v. Chester, C/A No. 88-155-HC (E.D.N.C. Apr. 6, 1989).  We deny Allen's motion for appointment of counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    